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                               UNITED STATES DISTRICT COURT
                           IN AND FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

              Plaintiff,
v.                                            CASE NUMBER: 1:23-cr-00045-TNM

JOHN EDWARD CROWLEY,

              Defendant.
                                   /


                 DEFENDANT’S SENTENCING MEMORANDUM AND
                    REQUEST FOR A DOWNWARD VARIANCE

       COMES NOW, the Defendant, John Edward Crowley, pursuant to 18 U.S.C. §3553(a),

respectfully submits this Sentencing Memorandum in support of his request for this Honorable

Court to exercise its discretion and impose a sentence below the advisory guideline range

contained within the Presentence Report (PSR) in this case.

       At the time of filing, Mr. Crowley has submitted his objections, additions, and corrections

to errors regarding the Mr. Crowley’s PSR. The Addendum has not been released.

                                         Introduction

       On October 16, 2023, Mr. Crowley’s bench trial began before the Honorable Judge Trevor

McFadden. On October 18, 2023, Mr. Crowley was found guilty of: Count 1: Civil Disorder under

18 U.S.C. § 231(a)(3); Count 3: Submission of a False Claim under § 18 U.S.C. §287; Count 6:

Disorderly and Disruptive Conduct in a Restricted Building or Grounds under 18 U.S.C. §

1752(a)(2), 1752(b)(2).; and Count 12: Impeding Passage Through the Capitol Grounds or

Buildings 40 U.S.C. §§ 5104(e)(2)(E), 5109(b). (PSR ¶4) Mr. Crowley, who has no significant

criminal record, is facing an advisory sentencing guideline range of 18 months to 24 months



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incarceration (total offense level 15, criminal history category I). (PSR ¶101) Additionally, he

faces up to three (3) years of Supervised Release per count. (PSR ¶103)

       By exercising their discretion to permit a downward variance, the Court would be

providing a sentence that is “sufficient, but not greater than necessary” to comply with the purposes

of sentencing under 18 U.S.C. § 3553(a). A sentence that includes a downward variance will

satisfy the statutory goals of sentencing and will constitute a sentence that reasonably provides a

just punishment, protects the public, promotes respect for the law, affords adequate deterrence and

promotes rehabilitation as outlined in 18 U.S.C. §3553(a)(2). Based on the criteria set forth in §

3553, and its parsimony clause, Mr. Crowley submits that a downward variance is the sole means

of achieving a reasonable sentence. The ‘reasonableness’ of a sentence is, of course, determined

by an individualized application of the §3553 factors. Gall v. U.S., 552 U.S. 38, 46 (2007).

       This memorandum and the attached exhibits:

        (1) addresses the factors set out in 18 U.S.C. § 3553(a)., which the Court must consider in
            determining the particular sentence to impose;
        (2) sets out the reasons why the facts and circumstances of this specific case are unique to
            warranting a downward variance;
        (3) incorporates character letters from friends, family, and colleagues who can speak to
            the Defendant’s good character.

                                 Booker and 18 U.S.C. §3553(a)

       The decision of the United States Supreme Court in Booker has rendered the United States

Sentencing Guidelines “effectively advisory.” U.S. v. Booker, 125 S. Ct. 738, 759-67 (2005).

Pursuant to Booker, sentencing courts are required to consider Mr. Crowley’s guideline range, but

may “tailor the sentence in light of other statutory concerns as well.” Id. at 767 (citing 18 U.S.C.

§ 3553 (a)).

       As a result of Booker federal district courts must consider the seven factors set forth by 18

U.S.C. § 3553 (a) in determining a sentence:

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            (1) the nature and circumstances of the offense and the history and characteristics of
                the defendant;
            (2) the need for the sentence imposed –
                    (A) to reflect the seriousness of the offense, to promote respect for the law, and
                        to provide just punishment for the offense;
                    (B) to afford adequate deterrence to criminal conduct;
                    (C) to protect the public from further crimes of the defendant; and
                    (D) to provide the defendant with needed educational or vocational training,
                        medical care, or other correctional treatment in the most effective manner;
            (3) the kinds of sentences available;
            (4) [the applicable Sentencing Guidelines];
            (5) any pertinent [Sentencing Guidelines] policy statement;
            (6) the need to avoid unwarranted sentence disparities among defendants with similar
                records who have been found guilty of similar conduct; and
            (7) the need to provide restitution to any victim of the offense.

        Moreover, § 3553(a) and the ‘parsimony provision’ mandate that the district court

“impose a sentence sufficient but not greater than necessary,” to comply with the purposes of

sentencing set forth in § 3553(a)(2). Sufficiency of a sentence rather than excessiveness is echoed

in 18 U.S.C. § 3582, which recognizes that “imprisonment is not an appropriate means of

promoting correction and rehabilitation.”

   I.      Nature and Circumstances of the Offense and the History and Characteristics of
           the Defendant

           a.   Nature and Circumstances of the Offense

        On January 6, 2021, Mr. Crowley traveled to Washington, DC for the “Save America”

Rally hosted by President Donald Trump at the Ellipse. He traveled alongside fellow members of

a group known as the Guardians of Freedom (GOF), an association he had recently discovered and

was in the process of joining. The allure of shared values and a common perspective to key

principles motivated Mr. Crowley to try and align himself with the GOF, which was founded on a

shared commitment to conservative principles and Christian values.

        As he understood, travel to Washington, DC was not only to attend the rally, but also to

provide volunteer security at the Rally. Mr. Crowley, still drawn to the group's shared values, saw

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this as an opportunity to contribute to the safeguarding of what they perceived as foundational

principles and questionable election results.

       Following the conclusion of the rally, Mr. Crowley and some of his travel associates

returned to their hotel. While there, they became activity that was that were beginning outside the

United States Capitol (Capitol). Mr. Crowley, a medic for the group, grabbed his gear, including

a vest that did not include plating, and joined his associates for the two (2) mile walk to the Capitol

from their hotel. Upon arriving at the Capitol, they found themselves quickly caught up in the

fervor surrounding the protest that was taking place. Unaware that they had encroached upon

restricted areas on Capitol grounds, Mr. Crowley and his associates navigated through the crowds,

eventually making their way to the Lower West Terrace. Mr. Crowley, still under the impression

that their presence was within the bounds of a lawful protest, followed with his associates as they

continued to navigate through the crowd towards a staircase near the Lower West Terrace Tunnel.

During that time the crowd became increasingly restless and various members of Mr. Crowley’s

group started to drift apart. As the group struggled to remain together, Mr. Crowley took it upon

himself to try and remain with his codefendant, Joseph Pavlik. As Mr. Pavlik made his way into

the Lower West Terrace Tunnel, the crowd, more agitated, began to make a collective push into

the tunnel. As stated at trial, Mr. Crowley was one of many who were caught up in this crowd and

eventually found himself just past the threshold of the tunnel entrance. While inside, he was pepper

sprayed numerous times by law enforcement officers and because of the continuous push from

those behind him, he resorted to protecting his face. It was during this time that he came into

contact with the shield of Officer Henry Foulds, which was pressed against Mr. Crowley as part

of an effort by law enforcement to remove the protestors from the tunnel area. Eventually Mr.

Crowley was able to remove himself from the tunnel. Despite the continued threat of pepper spray,



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Joseph Pavlik remained inside the tunnel, so Mr. Crowley returned to retrieve his assist him.

During this time, Mr. Crowley was pushed forward until the crowd dispersed again and he left the

tunnel. In an effort to again retrieve Mr. Pavlik, Mr. Crowley returned to the outer area of the

Lower West Terrace Tunnel, but at this point was feeling the effects of repeated pepper spraying

and later left the Lower West Terrace and Capitol grounds with his other associates.1

           At no time did Mr. Crowley participate in the planning of any attack on the Capitol. He

never discussed preventing any certification of the election with any party or person. Mr. Crowley

did not possess a weapon or use plated defensive gear like many who were there that day. He did

not resort to vandalism such as smashing windows, breaking down closed or locked doors, or

damage public property. He did not act as some sort of leader in the protest, exercise authority

over any participants2, or direct other protestors to complete any tasks. He did not participate in

the assault on any law enforcement officers or encourage others to do so. He did not persuade

anyone to commit any acts of violence and destruction. Indeed, if the entire mass of protestors had

remained outside the walls of the Capitol Building-- like Mr. Crowley; and if, the entire mass had

restricted its physical acts to a forehead-to-riot-shield contact-- like Mr. Crowley, the January 6th

protest would likely be a criminal non-event.

                 b.   The History and Characteristics of the Defendant

           Born on September 23, 1971, in Boone, North Carolina, Mr. Crowley was raised in a very

stable and supportive environment by his parents and three siblings. He grew up in a middle-class

neighborhood, experienced a childhood where his basic needs were consistently met, and he never

endured any form of abuse. Mr. Crowley spent his youth engaging in activities outdoors and

playing sports such as soccer, where he excelled. Diagnosed with ADHD, he struggled


1
    Mr. Pavlik was not with them when they left the Capitol grounds
2
    He did try and help Joseph Pavlik, but never in any leadership capacity.

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academically at times, but fought through those struggles to obtain his degree in landscape

architecture from the University of Florida. Mr. Crowley went on to work for various firms in

Orlando, Florida before starting his own business, Sustainable Design and Consulting, in 2013.

       Mr. Crowley shares an exceptionally close bond with his parents, a relationship that has

proven pivotal in navigating challenges that came with this case. After the passing of Mr.

Crowley’s mother, Inez Crowley, in 2022 he only deepened the significance of his connection with

his father, Richard Crowley, who remains a cornerstone in his life. A testament to the strength of

this familial tie is Mr. Crowley’s willingness to travel on a 9 to 10-hour car ride to North Carolina,

underscoring his commitment to spend even fleeting moments with his father. Despite Mr.

Crowley’s initial hesitation, prompted by concerns about his father's reaction to the offenses, at a

time when his father was losing and eventually lost his wife of over fifty years, he has since opened

up about the situation. Mr. Crowley’s father, recognizing the complexities of his son's

circumstances, has expressed unwavering support and will be present at the sentencing hearing to

stand by his son if health allows. Furthermore, it is worth noting that Mr. Crowley has actively

sought assistance in addressing personal challenges, particularly by engaging in efforts to

overcome addiction, further demonstrating his commitment to personal growth and improvement.

       Mr. Crowley shares a deeply affectionate and enduring bond with his wife, Lisa Acharekar,

spanning over two decades. Beyond being devoted life partners, they have cultivated a remarkable

friendship, characterized by shared interests and meaningful experiences. Their connection thrives

on shared passions, such as a mutual love for reading and history, creating a rich tapestry of shared

moments. Ms. Acharekar, an accomplished attorney based in Orlando, Florida, brings a wealth of

professional experience to their dynamic partnership, having previously served as a prosecutor in

Orange County, Florida and for the Office of Statewide Prosecution in Florida. Their relationship



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is a testament to the strength of companionship and the joy derived from both shared pursuits and

individual accomplishments. Ms. Acharekar has supported Mr. Crowley throughout this case,

stepping aside as an attorney and playing an active role in the decisions Mr. Crowley has had to

make as his wife.

           Mr. Crowley is a devout Christian, expressing his commitment to his faith by regularly

attending church services at two separate congregations along with bible studies and other church

events. In addition to his religious involvement, Mr. Crowley actively engages in volunteer work,

dedicating his time both through his church and Alcoholics Anonymous.

           Importantly, Mr. Crowley, has lived a law-abiding lifestyle and his journey through

addiction is a testament to his character and inherent ability to confront the consequences of his

actions. It is essential to consider his past struggles with addiction, particularly during his teenage

years when he developed the dependency to both alcohol and prescription narcotics3. Faced with

the challenging reality of waking up suffering from withdrawals, Mr. Crowley at the young age of

18, exhibited commendable self-awareness. Recognizing the detrimental impact of these

addictions on his life, he proactively addressed these issues and spent the next year in

rehabilitation.

           Since that pivotal moment, Mr. Crowley has maintained sobriety with unwavering

commitment. Alcoholics Anonymous meetings have become a consistent part of his routine,

underscoring his ongoing dedication to personal growth and recovery. Drawing on his personal

experiences after overcoming his own challenges, he has turned adversity into a powerful force

for societal betterment. With unwavering determination, he has dedicated himself to assisting

individuals from diverse backgrounds grappling with the complexities of sobriety. His



3
    Benzodiazepines were his narcotic of choice.

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compassionate approach has been especially impactful for those who felt utterly disheartened and

believed they were beyond redemption. Through his genuine empathy and a profound

understanding of the struggles associated with addiction, he has not only provided valuable support

but has also become a beacon of hope for individuals navigating the path to recovery. His

commitment to helping others is a testament to the person Mr. Crowley seeks to be.

                i. Criminal History

       Mr. Crowley has a criminal history score of zero. (PSR ¶49). In 1990, Mr. Crowley was

arrested for disorderly conduct when he was 18 years old, an incident that was related to his early

alcohol and drug abuse. Under U.S.S.G. §4C1.1A, Mr. Crowley qualifies as a Zero-point Offender,

which may entitle him to further reductions under the guidelines. A consideration for this Court is

the length of time in which he refrained from the commission of any crime as it “is a factor that is

critical to a court’s determination of a sentence it should impose.” United States v. Ward, 814 F.

Supp. 23, 24 (E.D.Va. 1993).

                ii. Acceptance of Responsibility

       Mr. Crowley testified to circumstances and interactions he had on January 6, 2021. His

intent was not to cause harm to any law enforcement officer or person. As stated previously, Mr.

Crowley did not resort to any violence during these incidents.

               iii. Physical/Mental Condition

       Mr. Crowley is in relatively good health. In 2022, he had surgery to repair his right biceps

after tearing it volunteering for charity. He has not experienced any ongoing complications from

this injury or surgery. (PSR §67)

       As a child Mr. Crowley was diagnosed with ADHD, which led to education struggles

despite his best attempts in school. In the late 2000s, Mr. Crowley dealt with suicidal thoughts



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after the downturn of the housing market and his continued absence from Alcoholics Anonymous.

While it was a very dark time in his life, he never attempted to take his own life. Mr. Crowley

began attending Alcoholics Anonymous meetings again and was able to overcome these harmful

thoughts.

   II.      The Need for the Sentence Imposed

         Section 3553(a)(2) lists the four purposes of sentencing, which can be summarized as just

punishment, deterrence, protection of the public, and rehabilitation.

            a. Just Punishment

         A downward variance sentence for a 52-year-old man, with one prior minor conviction,

would satisfy the goals of sentencing. The advisory guidelines “do not require the judge to leave

compassion and common sense at the door of the courtroom.” United States v. Johnson, 964 F. 2d

124,125 (2nd Cir. 1992). In considering a “just punishment” for an offense, a sentencing court

should also consider the additional penalties and hardships that will come with Mr. Crowley’s

conviction. “There is a broad range of collateral consequences that serve no useful function other

than to further punish criminal defendants after they have completed their court-imposed

sentences.” United States v. Nesbeth, 188 F.Supp.3d 179 (E.D.N.Y 2016).

         The imposition of any sentence will have a tremendous impact on Mr. Crowley. He is now

a convicted felon, who has lost many of the rights afforded to those without a felony record. The

Court should take into account the lasting effects a felony conviction will have when sentencing

Mr. Crowley.

            b. Deterrence

         There is no risk of recidivism in this case.     Sentencing Mr. Crowley to a term of

imprisonment will not have a positive impact on his risk of recidivism. Mr. Crowley has long been


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a productive and beneficial member of society, and absolutely would remain as such if the Court

exercises their discretion to depart from the guidelines.

       The empirical evidence does not establish a relationship between sentence length and

specific deterrence, regardless of the type of crime. The United States Sentencing Commission has

found that “Criminal History Category is a strong predictor of recidivism.” U.S.S.C., The Past

Predicts the Future: Criminal History and Recidivism of Federal Offenders, (2017) at 14.

Offenders with zero criminal history points had re-arrest rates of 30.2%, compared with 85.7%

with those with 15 or more criminal history points. Id. Further, “[t]here is a 22.1 percentage point

difference in re-arrest rates between offenders with no criminal history and one-point offenders.”

Id.

       Mr. Crowley requests to discuss this more at sentencing.

           c. Protection of the Public

       Mr. Crowley poses no threat to the community. Mr. Crowley, like many Americans, has

deeply held political beliefs that are integral to his principles. These beliefs have been shared, like

many, through social media and private text messages. Mr. Crowley, traveled to Washington, DC

on January 6, 2021, with the primary intention of providing security at the rally and expressing

dissatisfaction with the outcome of the 2020 presidential election. It is crucial to note again that

Mr. Crowley has not issued any threats towards anyone or resorted to violence to anyone based on

his beliefs. Contrary to the unfortunate turn of events during what was intended to be a peaceful

protest at the Capitol, Mr. Crowley found himself caught in the chaos. Importantly, he

unequivocally disapproves of the actions of those who resorted to violence against any person

during the protest.




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              d. Rehabilitation

           Imprisonment does not satisfy the goal of rehabilitation. “The court, . . . in determining

the length of [a term of imprisonment], shall consider the factors set forth in section 3553(a) to the

extent that they are applicable, recognizing that imprisonment is not an appropriate means of

promoting correction and rehabilitation.” 18 USC §3582(a). The advisory sentence contained in

Mr. Crowley’s PSR involves incarceration and would not promote rehabilitation. As stated

previously Mr. Crowley still attends regular Alcoholic Anonymous meetings to his sobriety of

thirty plus years.

    III.      The Kinds of Sentences Available

           The maximum term of imprisonment for Count One is five (5) years. (PSR ¶98). The

guideline range calculated in the PSR is based on his offense level of 15 and criminal history

category of I is 18 months to 24 months. (PSR ¶ 101). Mr. Crowley has objected to the guideline

range as calculated but stands by the belief that given the relatively low guideline range a

downward variance to probation is appropriate given the reasons discussed throughout this

memorandum.

    IV.       The Applicable Sentencing Guidelines (and Policy Statements)

              a. The Government’s enhancement for “physical” contact under U.S.S.G.
                 §2A2.4(b)(1)(A).

           The Government is seeking the addition of three (3) points for role adjustment in this as

they argue this offense involved “physical contact” between Mr. Crowley and Officer Henry

Foulds in the tunnel. (PSR ¶ 29)

           As a first matter, Mr. Crowley did not have physical contact with Officer Foulds. The two

were separated by the officer’s riot shield and there was no direct contact between them. Notably,

there is no provision for indirect contact within the guideline or its commentary. The rule of lenity

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prohibits an expansive reading of criminal laws. In recognition of this, the Guidelines themselves

give narrow definitions to terms commonly used. Thus, in the definition section in USSG §1B1.1,

“physical restraint” is defined as “forcible restraint...such as being tied, bound, or locked up.” In

short, the term is restricted to actual physical restriction as opposed to being under threat not to

leave a particular area. In a similar vein, ‘physical contact’ is limited to the plain meaning of the

term and no more. But see, U.S. v. Taliaferro, 211 F.3d 412 (7th Cir., 2000) (throwing cup of urine

on correctional officer is physical contact)

        It should be noted that there were many individuals that were in the space outside and

inside the West Terrance tunnel. There was a group inside the tunnel engaged in varying levels of

physical encounters with law enforcement officers. Mr. Crowley does not dispute his presence in

the area, as he testified to at trial his presence was in part to retrieve his associate, Joseph Pavlik,

from the fray that was breaking out in the tunnel.

        Mr. Crowley’s contact with the riot shield was incidental and was initiated by Officer

Foulds. In this regard, and in the video, Mr. Crowley is seen with his head bowed forward

approximately one inch from the shield. After several seconds, the shield moves forward and

comes into contact with Mr. Crowley’s forehead. (Axon body 3, X6039BF8H- Ledge video at

16:06:09). Thereafter, the shield and Mr. Crowley’s head remain in contact for the next 14 seconds.

There is no apparent movement by Mr. Crowley’s hands or arms. In U.S. v. McKeiver, 982 F.

Supp. 842, 846 (M.D. Fla., 1997), District Court concluded that a sentencing court “may enhance

a defendant's sentence by applying U.S.S.G. § 2A2.4 (b)(1) based on defendant-initiated physical

contact, but not based on victim-initiated physical contact. This is true because the term “conduct”

in § 2A2.4(b)(1) requires the sentencing court to focus on the defendant's conduct. Even if the

government has shown that § 2A2.4(b)(1) is ambiguous in the context of victim-initiated physical



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contact, the sentencing court still will not apply the enhancement. Where a criminal statute is

ambiguous, the Court must resolve any ambiguities in favor of the defendant.” (Citations omitted).

       Because Mr. Crowley’s head-on-shield contact was short-lived, indirect, and incidental, it

is outside the heartland of cases which are contemplated by U.S.S.G. § 2A2.4 (b)(1).

           b. Adjustment for Certain Zero-point Offenders under U.S.S.G. §4C1.1

       Under United States Sentencing Guidelines §4C1.1, Zero Point Offenders are individuals

who, despite engaging in criminal conduct, have a criminal history score of zero (0). This provision

recognizes that certain offenders who may have committed their current offense without history

of prior convictions that can be scored. The rationale behind this guideline is to tailor sentencing

to the specific circumstances of each case, allowing for a more nuanced and equitable approach

that considers both the nature of the offense and the offender's criminal history. It underscores the

principle that individuals with a minimal or non-existent criminal history may warrant different

sentencing considerations than those with a more extensive history of criminal conduct.

       In this case Mr. Crowley meets the criteria set out in U.S.S.G. §4C1.1 and is not

disqualified under the enumerated disqualification provisions. Therefore, the Court should reduce

his guidelines by two (2) points in compliance with this guideline.

           c. Multiple Count Adjustment (Grouping) under U.S.S.G. §3D1.4(a), (b)

       The Government is seeking a Multiple Count Adjustment under U.S.S.G. §3D1.4(a), (b)

grouping Count 3 separately from the other counts in Mr. Crowley’s conviction. (PSR ¶¶ 40; 43)

“For purposes of grouping offenses, Sentencing Guidelines require more than similar offense level

calculations and more than ongoing or continuous offense behavior; there must be some link

between defendant's offenses before grouping is appropriate.” U.S. v. Bordinaro, 777 F.Supp. 1229

(E.D.Pa.1997).



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       U.S.S.G §3D1.2 reads:

       All counts involving substantially the same harm shall be grouped together into a
       single Group. Counts involve substantially the same harm within the meaning of this
       rule:

       (a) When counts involve the same victim and the same act or transaction.

       (b) When counts involve the same victim and two or more acts or transactions
       connected by a common criminal objective or constituting part of a common scheme
       or plan.

       (c) When one of the counts embodies conduct that is treated as a specific offense
       characteristic in, or other adjustment to, the guideline applicable to another of the
       counts.

       (d) When the offense level is determined largely on the basis of the total amount of
       harm or loss, the quantity of a substance involved, or some other measure of
       aggregate harm, or if the offense behavior is ongoing or continuous in nature and
       the offense guideline is written to cover such behavior.

       Ordinarily, the first step in determining the combined offense level in a case involving

multiple counts is to identify those counts that are sufficiently related to be placed in the same

Group of Closely Related Counts (“Group”). Here the argument is that all of the counts for which

Mr. Crowley has been convicted of do stem from a continuous link of actions. The Court found

that Mr. Crowley entered restricted grounds when he entered the area around the West Terrance

Tunnel and his actions did impede, obstruct, and interfere with the passage of law enforcement

officers who were attempting to remove other protestors from the tunnel area.

       The Court’s own findings when announcing the verdict in this case stated that Count 3,

Entering and Remaining in a Restricted Building or Grounds under 18 U.S.C. § 1752(a)(1),

1752(b)(2), was committed when Mr. Crowley entered the tunnel and was privy to the police line

that had been set up. In announcing his findings and guilty verdicts as to Counts 1, 6, and 12 the

Court cited to specific actions that took place in the tunnel. Specifically in Count 1: Civil Disorder

under 18 U.S.C. § 231(a)(3) that his presence interfered with tunnel law enforcement, and did in

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fact impede, obstruct, and interfere with their lawful duties. On Count 6: Disorderly and Disruptive

Conduct in a Restricted Building or Grounds under 18 U.S.C. § 1752(a)(2), 1752(b)(2) that his

actions outside and within the tunnel disrupted the lawful duties of law enforcement officers. On

Count 12: Impeding Passage Through the Capitol Grounds or Buildings under 40 U.S.C. §§

5104(e)(2)(E), 5109(b), that by entering tunnel and remaining he impeded the passage of law

enforcement who were trying to remove protestors from the tunnel.

        These counts all involve substantially the same ongoing harm and should be grouped

together. As a result, the increase in offense level under USSG §3D1.4 is not appropriate and the

resulting two (2) point enhancement should not be applied.

   V.       The Need to Avoid Unwarranted Sentence Disparities

        18 U.S.C. §3553(a)(6) advises the court to avoid unwarranted sentence disparities among

defendants with similar records who have been found guilty of similar conduct. In Booker, the

United States Supreme Court stated,

        [t]his point is critically important. Congress' basic goal in passing the Sentencing
        Act was to move the sentencing system in the direction of increased uniformity.
        That uniformity does not consist simply of similar sentences for those convicted of
        violations of the same statute. . . . It consists, more importantly, of similar
        relationships between sentences and real conduct. . . .”

Booker, 543 U.S. at 254 (citing 28 U.S.C. § 991(b)(1)(B); § 994(f).

        The need to avoid unwarranted sentence disparities is especially heightened in a case like

this which is unique in the level of prosecution and number of various defendants across the

spectrum.    We recognize the unique nature of these cases have provided with numerous

opportunities to not only personally sentence other similarly situated defendants, but also see the

sentences of the court’s colleagues.

        As noted in the PSR, Mr. Crowley’s co-defendants received the following sentences.



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       - United States v. Brian Preller – Sentenced to 5 years’ probation for a Civil Disorder

charge under 18 U.S.C. §231(a)(3);

       - United States v. Joseph Pavlik - Sentenced to 2 months imprisonment followed by 2 years’

supervised release for a Civil Disorder charge under 18 U.S.C. §231(a)(3) and Entering and

Remaining in a Restricted Building or Grounds with a Deadly or Dangerous Weapon under 18

U.S.C. 1752(a)(1) and (b)(1)(A).

       - United States v. Benjamin Cole, Sentenced to 48 months’ probation for Civil Disorder

charge under 18 U.S.C. §231(a)(3).

       - United States v. Jonathan Alan Rockholt –Sentenced to 5 months imprisonment and 2

years’ supervised release for Civil Disorder charge under 18 U.S.C. §231(a)(3).

       - United States - Tyler Quintin Bensch – Sentenced to 2 years’ probation for Civil Disorder

charge under 18 U.S.C. §231(a)(3).

       Mr. Crowley recognizes that the determination of sentencing disparities goes well beyond

the co-defendants. Similar cases have flooded the courts in the District of the District of Columbia,

including the small sample of similar cases below:

       In the United States v. Eric Gerwatowski, 22-CR-00125-JMC, the Defendant confronted

Capitol Police while they were attempting to close Capitol doors to prevent further protestors from

getting into the building. The Defendant pulled open one of the doors that the Capitol Police had

just closed. He then turned to the mob and yelled, “Let’s go!” and directed more rioters into the

building. He then entered the building. While the Government was recommending a sentence of

3 months incarceration followed by probation, the Court sentenced him to 24 months’ probation

with 30 days home detention.

       In the United States v. Andrew Griswold - 1:21-cr-459-CRC, the defendant was part of a



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group of protestors that gathered together outside the Capitol’s East Rotunda doors. With a crowd

similar to the West Terrace Tunnel, the defendant joined the crowd and pushed his way into the

Capitol and eventually making it into the Senate Gallery. He was later indicted and plead to Civil

Disorder under 18 U.S.C. §231(a)(3) Despite several prior convictions, he received a sentence

of 75 days incarceration and 24 months supervised release.

   VI.      Letters of Good Character

         Several letters of good character are attached as exhibits to this motion. These letters are

intended to provide the Court with some context of who Mr. Crowley is outside of this case.

                                          CONCLUSION

         Throughout Mr. Crowley's life, he has consistently demonstrated a commitment to lawful,

compassionate, and diligent living, fueled by a genuine love for his country. In light of his

unblemished criminal history, Mr. Crowley respectfully urges this Honorable Court to exercise its

discretion and consider a sentence of probation. Such a disposition not only aligns with the

principles of justice but also serves as a fitting deterrent against any future criminal behavior. By

opting for probation, the Court would effectively foster respect for the law, ensuring a just

punishment for the offense without imposing an undue burden greater than necessary. Mr. Crowley

believes that this approach embodies a balanced and thoughtful response, reflecting the unique

circumstances of his case.

         Such a sentence would serve as an adequate deterrent to future criminal conduct, would

‘promote respect for the law and provide just punishment for the offense’ and would be “sufficient

but not greater than necessary.”




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 12th day of January, 2024, I electronically filed the
foregoing, with the Clerk of the Court, by using the CM/ECF system, which will send a Notice of
Electronic Filing to the following:      Assistant United States Attorneys: Holly Grosshans
Holly.Grosshans@usdoj.gov;      Joshua      Ontell   Joshua.Ontell@usdoj.gov;      and    Jake
Struebing@usdoj.gov.



                                            Respectfully Submitted,

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